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R|CHARD RYAN SHAWN MITCHELL
L. Daniel Johnson, CJA
Defense Attorney
254 Court Avenue, Suite 300
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on February 7, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & section MQQ°_CM Offense Number(s)
Conc|uded
18 U.S.C. § 1001 False Statements 10/17/2004 2

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
\/ictims Restitution Act of 1996.

Count 1 is dismissed on the motion of the United States.
lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district

within 30 days of any change of name, residence, or mailing address until all Fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 0412911985 lVlay 10, 2005
Deft‘s U.S. l\flarshal No.: 20003-076

Defendant’s Nlailing Address:
1255 Ty|er P|ace
Cordova, TN 38018

/QNO 111 011
ON PH|PPS NICCALLA
ED TATES DlSTRICT JUDGE

|V|ay__ , 2005

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PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device. The
defendant shall also comply With the standard conditions that have been adopted by this
court (set forth below). |f this judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do 80 by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20437-01-Nll Defendant Name: Richard Ryan Shawn lVllTCHELL Page 3 of4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance With the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

The defendant shall serve 3 months in a ha|f~way house.

The defendant shall not consume any alcoholic beveragesl

The defendant shall submit to drug, alcohol and mental heath testing and treatment
programs as directed by the Probation Office.

The defendant shall seek and maintain full-time employment

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

.C°.N._`

.'-"'P~

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on any fine
or restitution of more than $2,500, unless the fine or restitution is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedu|e of
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tota| Restitution

$100.00 $500.00

The Special Assessment shall be due immediately

FlNE
A Fine in the amount of $ 500.00 is imposed.

REST|TUT|ON

No Restitution Was orderedl

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay fine in regular monthly installments of not less than 10% of
gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment Al| criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ lnmate Financial Responsibiiity Program, are made to the clerk of the
courtl unless othenrvise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED sTATE DISTRIC COURT - WTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 35 in
case 2:04-CR-20437 Was distributed by faX, rnaiI, or direct printing on
May ]7, 2005 to the parties listed.

 

 

L. Daniel Johnson

JOHNSON COCKE & BRANDON
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Ste. 300

Memphis7 TN 38103

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

